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                                  Horizon Care Services, Inc.
                                        APPENDIX A

     1. Alexis, Starchisse
     2. Atice, Rebecca
     3. Azor, Sonia
     4. Bertrand, Ebencia
     5. Bijou, Joane
     6. Blackwood, Jennifer
     7. Blaise, Yves
     8. Brooks, Geovaughn
     9. Brown, Joyce
     10. Brudnicki, Duwayne
     11. Clarke’s Caregiving
     12. Cirius, Marie
     13. Corasme, Marie
     14. Decius, Magalie
     15. Delva, Schella
     16. Diometre, Wesley
     17. Doll, Ashtong
     18. Doody, Theresa
     19. Dorceus, Ruth
     20. Dormelus, Guerda
     21. Dubois, Marie
     22. Dufour, Thaismude
     23. Duran, Rosa
     24. Duval, Marie
     25. Estime, Lovena
     26. Exantus, Erica
     27. Fadeal, Eveline
     28. Ferdelus, Helene
     29. Ferdelus, Saint Julia
     30. Fileus, Elida
     31. Fleury, Marie
     32. Forest-Zamor, Roseline
     33. Fortune, Linda
     34. Fourreau, Victoria
     35. Georges, Jhenny
     36. Givens, Joan
     37. Gomez, Gloria
     38. Heath, Rhoda
     39. Innocent, Fedgine
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     40. Jasmin, Brithney
     41. Jean Francois, Wilna
     42. Jean Louis, Chiara
     43. Jean-Charles, Mirlene
     44. Jones, Lanika
     45. Jones, Latonya
     46. Jones, Sophia
     47. Joseph, Mimose
     48. Joseph, Syndia
     49. Jules, Francia
     50. Kenol, Annette
     51. Kenol, Nicolas
     52. Khemraj, Amy
     53. Khemraj, Kemchan
     54. Louis, Marie K.
     55. Magloire, Marie
     56. Maldonado, Maria
     57. Martilus-Mareus, Myrdride
     58. Maurice, Viana
     59. Mauvais, Sonia
     60. Mitchell, Elizabeth
     61. Myrick, Jazzmine
     62. Nelson, Fridline
     63. Paul, Rachelle
     64. Phadael, Sheila
     65. Phillips, John
     66. Philmore, Eva
     67. Pierre, Alete
     68. Pierre, Manezia
     69. Quallo, Molian
     70. Ramirez, Celia
     71. Raymond, Syndie
     72. Reed, Melissa
     73. Roberts, Julia
     74. Roberts, Roseanne
     75. Rutledge, Tiphani
     76. Saber, Bouchra
     77. Sainvil, Francianne
     78. Samuels-Foster, Ann Marie
     79. Sands, Gwendolyn
     80. Sine, Richelene
     81. Smith, Denise
     82. St. Juste, Maryse
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     83. Telisme, Wideline
     84. Thermitus, Sherlyn
     85. Thompson, Jemaine
     86. Turenne, Mireille
     87. Ulysse, Monique
     88. Viad, Veronique
     89. Vital, Riguad
     90. Watson, Ivy
     91. Wilson, Winsome
